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 1                                                         HONORABLE BARBARA J. ROTHSTEIN

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 8                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
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11   HOLLIANNE AND JACOB YRACEBURU                         Case No.: 2:24-cv-00362

12                                  Plaintiffs,            ANSWER OF DEFENDANT NAVY
                                                           FEDERAL CREDIT UNION
13          vs.

14   JPMORGAN CHASE BANK, N.A. and NAVY
     FEDERAL CREDIT UNION,
15
                                    Defendants.
16

17          Defendant Navy Federal Credit Union (“Defendant”) answers the Complaint of

18   Hollianne and Jacob Yraceburu (“Plaintiffs”) as follows.

19   I.     Parties and Jurisdiction

20          1.      Defendant does not have sufficient knowledge or information to form a belief as

21   to the truth of the allegations in this Paragraph, and therefore denies the same.

22          2.      Defendant does not have sufficient knowledge or information to form a belief as

23   to the truth of the allegations in this Paragraph, and therefore denies the same.

24          3.      Defendant denies that it may be served “at any branch location.” Defendant

25   admits the remaining allegations in this Paragraph.

      NAVY FEDERAL CREDIT UNION’S                                        GORDON REES SCULLY
      ANSWER TO PLAINTIFFS’                                              MANSUKHANI, LLP
      COMPLAINT                                                          701 5th Avenue, Suite 2100
      Case No. 2:24-cv-00362 – 1                                         Seattle, WA 98104
                                                                         Telephone: (206) 695-5115
                                                                         Facsimile: (206) 689-2822
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 1           4.      The allegations in this paragraph contain legal conclusions to which no response

 2   is required. To the extent a response is required, Defendant denies the allegations in this

 3   Paragraph.

 4   II.     Facts

 5           5.      Defendant does not have sufficient knowledge or information to form a belief as

 6   to the truth of the allegations in this Paragraph, and therefore denies the same.

 7           6.      Defendant admits that Ms. Yraceburu entered into a loan agreement with NFCU

 8   on or about November 2, 2021. Defendant does not have sufficient knowledge or information to
 9   form a belief as to the truth of the remaining allegations in this Paragraph, and therefore denies

10   the same.

11           7.      Defendant admits that it issued a check dated November 3, 2021 to Ms.

12   Yraceburu made payable to “Holliane L Ervin and Chase Bank” for $22,948.64, which was

13   returned unpaid to Defendant because Ms. Yraceburu (Ervin) did not endorse either the front or

14   the reverse of the check. Defendant does not have sufficient knowledge or information to form

15   a belief as to the truth of the remaining allegations in this Paragraph, and therefore denies the

16   same.

17           8.      Defendant does not have sufficient knowledge or information to form a belief as

18   to the truth of the allegations in this Paragraph, and therefore denies the same.

19           9.      Defendant does not have sufficient knowledge or information to form a belief as
20   to the truth of the allegations in this Paragraph, and therefore denies the same.

21           10.     Defendant does not have sufficient knowledge or information to form a belief as

22   to the truth of the allegations in this Paragraph, and therefore denies the same.

23           11.     Defendant does not have sufficient knowledge or information to form a belief as

24   to the truth of the allegations in this Paragraph, and therefore denies the same.

25   ///

      NAVY FEDERAL CREDIT UNION’S                                        GORDON REES SCULLY
      ANSWER TO PLAINTIFFS’                                              MANSUKHANI, LLP
      COMPLAINT                                                          701 5th Avenue, Suite 2100
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 1          12.     Defendant admits that it sent Ms. Yraceburu a letter dated November 8, 2021

 2   and that this letter explained that the November 3, 2021 check Defendant had issued to

 3   Plaintiffs for $22,948.64 had been returned because there was an “Endorsement missing of the

 4   Applicant on the front or reverse side of the draft.” Defendant does not have sufficient

 5   knowledge or information to form a belief as to the truth of the remaining allegations in this

 6   Paragraph, and therefore denies the same.

 7          13.     Defendant does not have sufficient knowledge or information to form a belief as

 8   to the truth of the allegations in this Paragraph, and therefore denies the same.
 9          14.     Defendant admits that Plaintiffs made a lump sum payment to pay off their loan

10   entirely on or about July 8, 2022 as alleged in this Paragraph. Defendant does not have

11   sufficient knowledge or information to form a belief as to the truth of the remaining allegations

12   in this Paragraph, and therefore denies the same.

13          15.     Defendant does not have sufficient knowledge or information to form a belief as

14   to the truth of the allegations in this Paragraph, and therefore denies the same.

15          16.     Defendant does not have sufficient knowledge or information to form a belief as

16   to the truth of the allegations in this Paragraph, and therefore denies the same.

17          17.     Defendant does not have sufficient knowledge or information to form a belief as

18   to the truth of the allegations in this Paragraph, and therefore denies the same.

19          18.     Defendant does not have sufficient knowledge or information to form a belief as
20   to the truth of the allegations in this Paragraph, and therefore denies the same.

21          19.     Defendant does not have sufficient knowledge or information to form a belief as

22   to the truth of the allegations in this Paragraph, and therefore denies the same.

23          20.     Defendant does not have sufficient knowledge or information to form a belief as

24   to the truth of the allegations in this Paragraph, and therefore denies the same.

25   ///

      NAVY FEDERAL CREDIT UNION’S                                        GORDON REES SCULLY
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 1          21.     Defendant does not have sufficient knowledge or information to form a belief as

 2   to the truth of the allegations in this Paragraph, and therefore denies the same.

 3          22.     Defendant does not have sufficient knowledge or information to form a belief as

 4   to the truth of the allegations in this Paragraph, and therefore denies the same.

 5          23.     Defendant does not have sufficient knowledge or information to form a belief as

 6   to the truth of the allegations in this Paragraph, and therefore denies the same.

 7          24.     Defendant does not have sufficient knowledge or information to form a belief as

 8   to the truth of the allegations in this Paragraph, and therefore denies the same.
 9          25.     Defendant denies that the check it provided to Plaintiffs was defective.

10   Defendant does not have sufficient knowledge or information to form a belief as to the truth of

11   the remaining allegations in this Paragraph, and therefore denies the same.

12          26.      Defendant does not have sufficient knowledge or information to form a belief as

13   to the truth of the allegations in this Paragraph, and therefore denies the same.

14          27.     Defendant does not have sufficient knowledge or information to form a belief as

15   to the truth of the allegations in this Paragraph, and therefore denies the same.

16          28.     Defendant does not have sufficient knowledge or information to form a belief as

17   to the truth of the allegations in this Paragraph, and therefore denies the same.

18          29.     Defendant does not have sufficient knowledge or information to form a belief as

19   to the truth of the allegations in this Paragraph, and therefore denies the same.
20          30.     Defendant does not have sufficient knowledge or information to form a belief as

21   to the truth of the allegations in this Paragraph, and therefore denies the same.

22          31.     Defendant does not have sufficient knowledge or information to form a belief as

23   to the truth of the allegations in this Paragraph, and therefore denies the same.

24   ///

25   ///

      NAVY FEDERAL CREDIT UNION’S                                        GORDON REES SCULLY
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 1          32.     Defendant denies the allegations in this Paragraph asserted against it. Defendant

 2   does not have sufficient knowledge or information to form a belief as to the truth of the

 3   remaining allegations in this Paragraph, and therefore denies the same.

 4          33.     Defendant denies the allegations in this Paragraph asserted against it. Defendant

 5   does not have sufficient knowledge or information to form a belief as to the truth of the

 6   remaining allegations in this Paragraph, and therefore denies the same.

 7          34.     Defendant denies the allegations in this Paragraph asserted against it. Defendant

 8   does not have sufficient knowledge or information to form a belief as to the truth of the
 9   remaining allegations in this Paragraph, and therefore denies the same.

10          35.     Defendant does not have sufficient knowledge or information to form a belief as

11   to the truth of the allegations in this Paragraph, and therefore denies the same.

12          36.     Defendant does not have sufficient knowledge or information to form a belief as

13   to the truth of the allegations in this Paragraph, and therefore denies the same.

14          37.     Defendant denies the allegations in this Paragraph asserted against it. Defendant

15   does not have sufficient knowledge or information to form a belief as to the truth of the

16   remaining allegations in this Paragraph, and therefore denies the same.

17   III.   Causes of Action

18                  Count 1 – Negligent Misrepresentation (as to both Defendants)

19          38.     The allegations in this paragraph are legal conclusions that do not require a
20   response. To the extent a response is required, Defendant denies the allegations in this

21   Paragraph.

22          39.     Defendant does not have sufficient knowledge or information to form a belief as

23   to the truth of the allegations in this Paragraph, and therefore denies the same.

24          40.     Defendant denies the allegations in this Paragraph.

25          41.     Defendant denies the allegations in this Paragraph.

      NAVY FEDERAL CREDIT UNION’S                                         GORDON REES SCULLY
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 1                           Count 2 – Conversion (as to both Defendants)

 2          42.     The allegations in this paragraph are legal conclusions that do not require a

 3   response. To the extent a response is required, Defendant denies the allegations in this

 4   Paragraph.

 5          43.     The allegations in this paragraph are legal conclusions that do not require a

 6   response. To the extent a response is required, Defendant denies the allegations in this

 7   Paragraph.

 8          44.     Defendant denies the allegations in this Paragraph.
 9          45.     Defendant denies the allegations in this Paragraph.

10                            Count 3 – Consumer Protection Act Claims

11          46.     The allegations in this paragraph are legal conclusions that do not require a

12   response. To the extent a response is required, Defendant denies the allegations in this

13   Paragraph.

14          47.     The allegations in this paragraph are legal conclusions that do not require a

15   response. To the extent a response is required, Defendant denies the allegations in this

16   Paragraph.

17          48.     Defendant denies the allegations in this Paragraph.

18          49.     The allegations in this paragraph are legal conclusions that do not require a

19   response. To the extent a response is required, Defendant denies the allegations in this
20   Paragraph.

21          50.     Defendant denies the allegations in this Paragraph.

22          51.     Defendant denies the allegations in this Paragraph.

23   ///

24   ///

25   ///

      NAVY FEDERAL CREDIT UNION’S                                         GORDON REES SCULLY
      ANSWER TO PLAINTIFFS’                                               MANSUKHANI, LLP
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 1                                          Count 4 – Outrage

 2          52.     The allegations in this paragraph are legal conclusions that do not require a

 3   response. To the extent a response is required, Defendant denies the allegations in this

 4   Paragraph.

 5          53.     Defendant denies the allegations in this Paragraph.

 6          54.     Defendant denies the allegations in this Paragraph.

 7          55.     Defendant denies the allegations in this Paragraph.

 8          56.     Defendant denies the allegations in this Paragraph.
 9                                           Injunctive Relief

10          57.     The allegations in this paragraph are legal conclusions that do not require a

11   response. To the extent a response is required, Defendant denies the allegations in this

12   Paragraph.

13          58.     The allegations in this paragraph are legal conclusions that do not require a

14   response. To the extent a response is required, Defendant denies the allegations in this

15   Paragraph.

16          59.     Defendant does not have sufficient knowledge or information to form a belief as

17   to the truth of the allegations in this Paragraph, and therefore denies the same.

18          60.     Defendant denies the allegations in this Paragraph.

19          61.     Defendant denies the allegations in this Paragraph.
20          62.     Defendant denies the allegations in this Paragraph.

21   IV.    Prayer for Relief

22          Defendant denies Plaintiffs are entitled to any damages or relief of any kind whatsoever.

23                           DEFENDANT’S AFFIRMATIVE DEFENSES

24          1.      Plaintiffs have failed to state a claim for relief against Defendant.

25   ///

      NAVY FEDERAL CREDIT UNION’S                                         GORDON REES SCULLY
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 1          2.      Plaintiffs’ Complaint fails because Plaintiffs failed to give Defendant notice of

 2   their claim and an opportunity to cure before bringing this action as required by the agreement

 3   between Plaintiffs and Defendant.

 4          3.      The doctrines of accord and satisfaction cause Plaintiffs’ Complaint to fail

 5   because Defendant returned all the payments Plaintiffs made to Defendant.

 6          4.      Plaintiffs’ first and fourth causes of action are untimely because Virginia law

 7   applies to Plaintiffs’ claims against Defendant, the applicable statute of limitations for these

 8   claims is two years, Plaintiffs’ claims arose on or before November 8, 2021, and Plaintiffs
 9   initiated this action against Defendant on February 20, 2024, which is more than two years after

10   Plaintiffs’ claims arose.

11          5.      Plaintiffs’ injuries were caused by the criminal actions, intentional torts, and/or

12   negligence of a third party, and not Defendant.

13          6.      Plaintiffs’ claimed damages, if any, were caused in whole or in part, by their

14   own negligence, omissions, or wrongdoing, including but not limited to, Ms. Yraceburu’s

15   failure to properly endorse the check dated November 3, 2021 from Defendant and made

16   payable to “Holliane L Ervin and Chase Bank” for $22,948.64.

17          7.      Plaintiffs’ claims are barred, in whole or in part, because they failed to mitigate,

18   minimize, or prevent damages, if any, in a timely manner.

19          8.      Plaintiffs’ damages, if any, must be reduced for setoffs.
20          9.      Plaintiffs’ claims may be barred by the equitable doctrines of laches, waiver, and

21   estoppel.

22          10.     Plaintiffs’ claims are barred because they ratified the actions complained of in

23   their Complaint.

24          11.     Defendant reserves the right to assert additional affirmative defenses in the

25   future during or following discovery.

      NAVY FEDERAL CREDIT UNION’S                                        GORDON REES SCULLY
      ANSWER TO PLAINTIFFS’                                              MANSUKHANI, LLP
      COMPLAINT                                                          701 5th Avenue, Suite 2100
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 1                             DEFENDANT’S PRAYER FOR RELIEF

 2             WHEREFORE, having fully answered the allegations contained in the Complaint and

 3   having asserted its affirmative defenses, Defendant prays that:

 4             1.    The Court dismiss all claims asserted in the Complaint against Defendant Navy

 5   Federal Credit Union;

 6             2.    The Court award Defendant the costs, expenses, and attorney’s fees incurred by

 7   Defendant to defend against the claims asserted in the Complaint, including the claims asserted

 8   in the Complaint are frivolous and without merit; and
 9             3.    For such other and further relief as the Court may deem just, equitable, and

10   proper.

11
     Dated: March 26, 2024                         GORDON REES SCULLY MANSUKHANI, LLP
12

13
                                                   By: s/ Daniel O. Culicover
14                                                     Sarah N. Turner WSBA# 37748
                                                       Daniel O. Culicover WSBA #55085
15                                                     701 Fifth Avenue, Suite 2100
                                                       Seattle, WA 98104
16
                                                       Phone: 206-695-5115
17                                                     Email: sturner@grsm.com
                                                              dculicover@grsm.com
18
                                                   Attorneys for Defendant Navy Federal Credit
19                                                 Union
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      NAVY FEDERAL CREDIT UNION’S                                       GORDON REES SCULLY
      ANSWER TO PLAINTIFFS’                                             MANSUKHANI, LLP
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      Case No. 2:24-cv-00362 – 9                                        Seattle, WA 98104
                                                                        Telephone: (206) 695-5115
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 1                                 CERTIFICATE OF SERVICE

 2          The undersigned declares under penalty of perjury under the laws of the State of

 3   Washington that on this day a true and accurate copy of the foregoing document was filed with

 4   the Clerk of the Court using CM/ECF System and e-service was made on the following

 5   individuals listed below:

 6    Jason D. Anderson, WSBA No. 38014             Katie D. Bass
      T. Tyler Santiago, WSBA No. 46004             Pilar French
 7    ANDERSON SANTIAGO, PLLC                       LANE POWELL LLP
      207B Sunset Blvd. N.                          1420 Fifth Avenue, Suite 4200
 8    Renton, WA 98057                              Seattle, Washington 98101-2375
      Phone: (206) 395-2665                         Tel: 206.223.7731
 9    Fax: (206) 395-2719                           bassk@lanepowell.com
      Email: jason@alkc.net                         FrenchP@LanePowell.com
10
      Attorneys for Plaintiffs                      Attorneys for Defendant
11    HOLLIANNE AND JACOB                           JPMORGAN CHASE BANK, N.A.
      YRACEBURU
12

13
     Dated: March 26, 2024
14

15                                              s/ Jacqueline Burrell
                                                Jacqueline Burrell
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